Case 19-50945-JKS   Doc 69   Filed 12/15/24   Page 1 of 3
                                Case 19-50945-JKS                     Doc 69          Filed 12/15/24              Page 2 of 3
                                                              United States Bankruptcy Court
                                                                   District of Delaware
Goldberg,
       Plaintiff                                                                                                       Adv. Proc. No. 19-50945-JKS
Frontier Advisors Group LLC,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0311-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 13, 2024                                               Form ID: pdfjo                                                             Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 15, 2024:
Recip ID                 Recipient Name and Address
clagent                + Epiq Class Action & Claims Solutions, Inc., www.gardencitygroup.com, 1985 Marcus Avenue, Suite 200, Lake Success, NY 11042-2029

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: USTPRegion03.WL.ECF@USDOJ.GOV
                                                                                        Dec 13 2024 19:57:00      U.S. Trustee, Office of United States Trustee, J.
                                                                                                                  Caleb Boggs Federal Building, 844 King Street,
                                                                                                                  Suite 2207, Lockbox 35, Wilmington, DE
                                                                                                                  19801-3519
ust                    + Email/Text: USTPRegion03.WL.ECF@USDOJ.GOV
                                                                                        Dec 13 2024 19:57:00      U.S. Trustee, Office of the United States Trustee,
                                                                                                                  J. Caleb Boggs Federal Building, 844 King Street,
                                                                                                                  Suite 2207, Lockbox 35, Wilmington, DE
                                                                                                                  19801-3519

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
intp             *+            Epiq Class Action & Claims Solutions, Inc., www.gardencitygroup.com, 1985 Marcus Avenue, Suite 200, Lake Success, NY
                               11042-2029

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 15, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 13, 2024 at the address(es) listed
                          Case 19-50945-JKS                 Doc 69         Filed 12/15/24          Page 3 of 3
District/off: 0311-1                                        User: admin                                                       Page 2 of 2
Date Rcvd: Dec 13, 2024                                     Form ID: pdfjo                                                   Total Noticed: 3
below:
Name                       Email Address
Andrew W. Caine
                           on behalf of Plaintiff Michael Goldberg acaine@pszjlaw.com

Bradford J. Sandler
                           on behalf of Plaintiff Michael Goldberg bsandler@pszjlaw.com abates@pszjlaw.com

Bridget Gallerie
                           on behalf of Claims Agent Epiq Class Action & Claims Solutions Inc. Pacerteam@choosegcg.com

Colin R. Robinson
                           on behalf of Plaintiff Michael Goldberg crobinson@pszjlaw.com

D. Ethan Jeffery
                           on behalf of Defendant David Nichols dej@murphyking.com pas@murphyking.com

D. Ethan Jeffery
                           on behalf of Defendant Frontier Advisors Group LLC dej@murphyking.com pas@murphyking.com

Derek C. Abbott
                           on behalf of Mediator Derek C. Abbott dabbott@mnat.com
                           derek-abbott-1155@ecf.pacerpro.com;jlawrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com;rebecca-weidman-3
                           578@ecf.pacerpro.com

Derek C. Abbott
                           dabbott@mnat.com


TOTAL: 8
